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                                          December 6, 2021

VIA ECF

Hon. Anita B. Brody
United States District Court for the Eastern District of Pennsylvania
James A. Byrne United States Courthouse
601 Market Street, Room 7613
Philadelphia, PA 19106

       Re:     Fuentes et al. v. Jiffy Lube International, Inc., Case No. 18-05174-AB

Hon. Anita B. Brody:

        In keeping with Local Rule 7.4(b) and paragraph 3 (“Scheduling Policy”) of Your Honor’s
Policies and Procedures, the parties have agreed to the following modification of the Amended
Scheduling Order in this case (Dkt. 79) (“Order”) and submit it for the Court’s approval.

         Over the past several months, the parties have engaged in settlement discussions, have
made some progress toward a resolution of this litigation, and jointly request extending case
deadlines to conclude negotiations. United States Magistrate Judge David R. Strawbridge has
facilitated that process by presiding over a series of ongoing mediation/settlement conferences and
communications which began on October 13. Dkt. 77. While the process has taken longer than
anticipated, the parties remain engaged. Jiffy Lube has indicated that it needs more time to make
its next proposal, and with the holidays approaching, the current January 21, 2022 deadline for
Plaintiffs to file their motion for class certification is no longer tenable. The parties have therefore
met and conferred, and have agreed to an extension of time to allow them to realize the benefits of
a potential settlement at this stage of the litigation, one of which is to avoid the significant costs
associated with moving for and opposing class certification while concurrently pursuing
settlement. With this in mind, the parties agree and jointly request that the Court enter an order
superseding the Order and setting the following schedule:

       •       Plaintiff files Motion for Class Certification (including any supporting expert
               declarations): March 25, 2022.

       •       Defendant files opposition to Motion for Class Certification (including any
               supporting expert declarations): May 13, 2022.


       •       Plaintiff files reply in support of Motion for Class Certification (including any
               supporting expert declarations): June 23, 2022.

       •       Conclusion of fact discovery July 22, 2022.
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      •      Plaintiff serves merits expert reports: August 5, 2022.

      •      Defendant serves merits expert reports: September 2, 2022.

      •      Plaintiff serves merits rebuttal reports: September 30, 2022.

      •      Conclusion of expert discovery: October 28, 2022.

      •      Deadline for filing dispositive motions: November 23, 2022.

      •      Opposition to any Motion for Summary Judgment: January 13, 2023.

      •      Reply to any Motion for Summary Judgment: February 17, 2023.



Dated: December 6, 2021                    Respectfully submitted,


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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on December 6, 2021, a true and correct copy of the foregoing

was electronically filed with the Clerk of Court using CM/ECF. Copies of the foregoing

document will be served upon interested counsel via transmission of Notices of Electronic Filing

generated by CM/ECF.



                                                    /s/ Michael L. Schrag
